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                 EXHIBIT 1
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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF NEW YORK: COMMERCIAL DIVISION PART 43
           -------------------------- ----------------------X
            THE PEOPLE OF THE STATE OF NEW YORK,                                          INDEX NO.           452197 /2022

                                                    Plaintiff,
                                                                                          MOTION DATE         03/02/2023
                                           - V-
                                                                                          MOTION SEQ. NO.          001
            CVS PHARMACY, INC.,WELLPARTNER, LLC.,
            CAREMARK, L.L.C., CVS ALBANY, L.L.C.
                                                                                            DECISION+ ORDER ON
                                                    Defendant.                                    MOTION
           ---------------------------------------------------------------------------X

           HON. ROBERT R. REED:

           The following e-filed documents, listed by NYSCEF document number (Motion 001) 8, 9, 10, 11, 12, 17,
           19,20, 52
           were read on this motion to                                                    DISMISS

                    Upon the foregoing documents, it is hereby

                    ORDERED that defendants' motion to dismiss is granted in accordance with the attached

          so-ordered transcript.


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                   { DA                                                      ~ - D - , J - . s - _ - c - .- - -



           CHECK ONE:                         CASE DISPOSED                           NON-FINAL DISPOSITION

                                              GRANTED            □     DENIED         GRANTED IN PART         □   OTHER
           APPLICATION:                       SETTLE ORDER                            SUBMIT ORDER
           CHECK IF APPROPRIATE:              INCLUDES TRANSFER/REASSIGN              FIDUCIARY APPOINTMENT   □   REFERENCE




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               1   SUPREME COURT OF THE STATE OF NEW YORK
                   COUNTY OF NEW YORK - CIVIL TERM - PART 43
               2   -----------------                                -x
               3     THE PEOPLE OF THE STATE OF NEW YORK,

               4        by and through LETITIA JAMES,
                        Attorney General of the State of                   INDEX NUMBER:
               5        New York,                                          452197/2022

               6                            Plaintiff,

               7              - against -

               8     CVS PHARMACY, INC., WELLPARTNER, LLC.,
                     CAREMARK, L.L.C., and CVS ALBANY,
               9     L.L.C.,

              10                            Defendants.
                                                            - - - - -x
              11
                                                         60 Centre Street
              12     Proceedings                         New York, New York
                                                         March 2, 2023
              13

              14   B E F O R E :

              15              HONORABLE ROBERT R. REED,

              16                        JUSTICE OF THE SUPREME COURT

              17   APPEARANC ES:

              18

              19             LETITIA JAMES
                             Attorney General
              20             State of New York
                             Attorneys for the Plaintiff
              21             28 Liberty Street
                             New York, New York 10005
              22             BY:  JEREMY R. KASHA, ASSISTANT ATTORNEY GENERAL
                                  AMY McFARLANE, ANTITRUST DEPUTY BUREAU CHIEF
              23                  ELINOR R. HOFFMANN, ANTITRUST BUREAU CHIEF
                                  BRYAN BLOOM, SENIOR ENFORCEMENT COUNSEL
              24

             25


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               1   A P P E A R A N C E S:      ( continued)

               2

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                                    JONATHAN B. PITT, ESQ.
               6                    TOM W. RYAN, ESQ.

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              10              BY:  JONATHAN D. LUPKIN, ESQ.

              11

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                                                              ANNE BROWN, RPR
              14                                              SENIOR COURT REPORTER

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               1                  THE COURT:     If I could have appearances, plaintiff

               2        first.

               3                  MR. KASHA:     Good morning, Your Honor.

               4                  My name is Jeremy Kasha.       I'm an Assistant Attorney

               5        General in the Office of the New York Attorney General,

               6        representing the plaintiff.

               7                  MS. McFARLANE:       Good afternoon, Your Honor.

               8                  Amy McFarlane, Deputy Bureau Chief of the Antitrust

               9        Bureau, on behalf of the plaintiff, the People of the State

              10        of New York.

              11                  MS. HOFFMANN:       Good afternoon, Your Honor.

              12                  My name is Elinor Hoffmann.       I'm the Bureau Chief

              13        for the Antitrust Bureau of the New York Attorney General's

              14        Office.

              15                  MR. BLOOM:     Your Honor, Bryan Bloom, Senior

              16        Enforcement Counsel for the New York Attorney General.

              17                  MS. MAINIGI:     Good morning, Your Honor.

              18                  Enu Mainigi, Williams & Connolly,        for the CVS

              19        defendants.

              20                  MR. PITT:    Good morning -- or afternoon, Your

              21        Honor.

              22                  Jonathan Pitt, also from Williams & Connolly, also

              23        representing the CVS defendants.

              24                  MR. RYAN:    Good afternoon, Your Honor.

              25                  Tom Ryan, also from Williams      &   Connolly, also for


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               1        the defendants.

               2                   MR. LUPKIN:     Good afternoon, Your Honor.

               3                   Jonathan Lupkin of Lupkin PLLC, also on behalf of

               4        the defendants.

               5                   Good afternoon.

               6                   MR. KASHA:     And I did mean to say good afternoon.

               7        I apologize, Your Honor.

               8                  MS. MAINIGI:        I'm sure.     We all messed it up.

               9                   THE COURT:     Go ahead.

              10                  MS. MAINIGI:      So, Your Honor, are you ready to hear

              11        argument on the motion to dismiss?

              12                  THE COURT:      Yes.

              13                  MS. MAINIGI:      Okay.     Mr.   Pitt will do the argument

              14        for us.

              15                  MR.   PITT:    Thank you, Your Honor.       May I use the

              16        podium?

              17                  THE COURT:      Yes.

              18                  MR.   PITT:    Thank you.

              19                  And, Your Honor, may I -- I also brought just a

              20        small demonstrativ e to just, sort of, allow me and hopefully

              21        everyone else to follow along a little bit with --

              22                  THE COURT:      Do we have enough to share?

              23                  MR. PITT:      I did -- yes.      And I provided it to

             24         opposing counsel.       We do, yes.

             25                   THE COURT:      All right.


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               1                  MR. PITT:    So good afternoon, Your Honor, again.

               2        Jonathan Pitt for the defendants.

               3                   Your Honor, before I get into the substantive

               4        arguments -- and there are three of them that I'd like to

               5        discuss with Your Honor today -- I wanted to take a quick

               6        step back and provide a little bit of background on the case

               7        and the transaction that's at issue in the case, the policy

               8        that's at issue, as well as this 340B program that the case

               9        is, kind of, at least in part about.

              10                  So essentially, what 340B is, is it is a way that

              11        Congress devised to help fund certain hospitals and health

              12        clinics, which I'll refer to as "covered entities."           That's

              13        how the Complaint refers to them.        That's, sort of, how

              14        they're referred to generally in the industry.

              15                  And under this program, essentially what happens is

              16        drug manufacturers give a, kind of, deep discount to certain

              17        health facilities, these covered entities, who are able

              18        effectively to buy the drugs for a discounted price, but

              19        they get reimbursed by the payer, usually an insurer, at

              20        full price.    And so there's a difference, and that

              21        difference then goes to the covered entity, minus the

              22        prescription dispensing fees and the administrative fees.

              23                  And because it's, kind of, a little bit complicated

              24        to figure out eligibility and, kind of, if there are

              25        inventory issues that the pharmacies have to figure out


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               1        it gets fairly complicated -- these entities called 340B

               2        administrators came into existence.        The Complaint calls

               3        them "TPAs'' or third-party administrators.        And they help

               4        covered entities and contract pharmacies.         That is, the

               5        pharmacies that the covered entities use in order to get

               6        these drugs and in order to get that difference that I was

               7        talking about, which is called 340B savings.

               8                    These administrators help to,    sort of, figure out

               9        all of that, and they interface with the pharmacy and with

              10        the covered entity.     And that's sort of how that industry

              11        arose.

              12                    So why did CVS acquire Wellpartner, which used to

              13        be an independent third-party administrator; and why did

              14        why was there a policy that involved the integration of

              15        those administrative services into the contract pharmacy

              16        services?

              17                    The basic reason, and I won't go too heavily into

              18        it because this is really by way of background, our

              19        arguments don't depend on it, but I did want to make sure

              20        that I was being clear.

              21                    The purpose for the transaction was to enable CVS

              22        to open up many, many more pharmacy locations than it had

              23        previously been able to do due to compliance concerns that

             24         CVS, as a healthcare company, had.       And so it integrated

             25         the administrator into the services.        And once it did that,


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               1        was able to allow any covered entity that wanted it, to

               2        contract with any number of CVS pharmacy locations that they

               3        wanted to do.    And that was really what underlied the

               4        transaction.

               5                  And the fact is -- and I'm, I guess, sort of, now

               6        on page -- it's called page 2.       It's the first,    kind of,

               7        real page of the presentation -- but it was successful.

               8        That is, CEs, covered entities, have benefitted enormously

               9        from this integration because they are now able to look for

              10        more places to find savings.

              11                  So why then are we here today.        Why is there a

              12        Complaint filed that is alleging -- so the contrary, that

              13        somehow this was bad for covered entities, or covered

              14        entities didn't want it or that it raised costs.          We believe

              15        that's not the case.     Again, not what we're here for on a

              16        motion to dismiss.

              17                  But I think part of the reason for that is we

              18        discovered that in the pre Complaint investigation that was

              19        done by the Attorney General's Office -- because they have

              20        the ability as I'm sure Your Honor knows to take all kinds

              21        of discovery before a Complaint, and they did that.           But

              22        they did not take any testimony from the covered entities

              23        and it's the covered entities that they say are the victims

              24        on whose behalf they are suing.

              25                  So why am I going into all this?        Well, part of the


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               1         reason is, one of the things that,         kind of, cuts through a

               2        lot of our arguments is that New York is,          kind of, a -- a

               3        unique state in the sense that relatively few of these

               4        covered entities actually use CVS pharmacies as contract

               5        pharmacies.     CVS,    just to be frank,    just isn't all that

               6        popular in New York.        Independent pharmacies are extremely

               7        popular in New York.        There are other chains that are more

               8        prevalent than CVS is.           But CVS has a very low portion of

               9        business when it comes to these 340B contracts between

              10        pharmacies and the hospitals or clinics, the covered

              11        entities.

              12                    And one of our concerns and one of the reasons I

              13        want to contextualize it this way is that the Complaint

              14        focuses all upon national -- they described some national

              15        numbers, and I'll get into those in a moment -- they talk

              16        about a national policy.          They talk about a national market,

              17        which we obviously take pretty strong issue with.           But by

              18        focusing on the whole country, you miss what is actually

              19        different about New York.          And so I want to get into that a

              20        little bit.

              21                    So before I, sort of, get into the three major

              22        arguments, what I'd like to do now while I'm,         kind of, on

              23        this page 3 is talk a little bit about the kind of claim

              24        that the plaintiff has brought here.

              25                    So a tying claim under antitrust law, in its


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               1        simplest terms, is really just -- a tying arrangement just

               2        means that someone is selling one product on the condition

               3        that the customer also buy another product from that seller.

               4                   So we have a tying product, which they say is the

               5        contract pharmacy.      We have the quote, unquote, "tied"

               6        product, which is the product that they say covered entities

               7        are required to take, and that, in this case, is 340B

               8        administrative services.

               9                   And in both the New York Courts and the Federal

              10        Courts, there is a really strong recognition that selling

              11        two things together in a package, and only in a package, is

              12        usually not a problem.         It's usually -- it usually does not

              13        cause what's referred to as anticompetitive under the

              14        antitrust laws.     It's usually not a problem and, in fact,

              15        it's very often a great benefit for customers.           And the

              16        reason for that is it can lead to better services.            It can

              17        lead to better products.        It can lead to more efficiency.

              18                   So the Courts for that reason have laid out some

              19        fairly stringent tests to figure out whether or not a

              20        particular quote, unquote, "tie" actually violates or should

              21        violate the antitrust laws.        And for our purposes here,      I

              22        think the key requirements are, there has to be a properly

              23        defined market for the tie-in product, and that's the

              24        contract pharmacy services here.

              25                   The defendant has to have what's referred to as


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               1        market power or dominance in that tying product market.             And

               2        the plaintiff has to allege and prove anticompetitive harm

               3        in the tied product market.        Again, here, the market for

               4        340B administrative services.        And what that means under the

               5        law that we cited in our papers is market-wide harm,

               6        oftentimes referred to as substantial foreclosure.

               7                   In other words,     it has to be the case that other

               8        340B administrators have no genuine ability to compete

               9        for -- to provide 340B services, administrative services.

              10        And here, our argument here is that the plaintiff fails to

              11        meet that test for three reasons, and they're independent

              12        reasons, any one of which we believe merits dismissal of

              13        this Complaint.

              14                   Those reasons are summarized on page 4 of the

              15        handout here.     And what I'm going to do is I'm, sort of,

              16        going to start with this last requirement that I talked

              17        about, which is the requirement to allege and prove

              18        market-wide anticompetitive harm.

              19                   So the first point just to be clear on, the

              20        Donnelly Act.     New York's antitrust law is, as the cases

              21        say, concerned with broad harm to a market.          Not with

              22        conduct that is said to affect just a sliver of the market.

              23        And the global reinsurance case that we've cited in our

              24        papers speaks to that point.

              25                   So have a tying claim under New York or Federal


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               1        law, the plaintiff has to allege and prove substantial

               2        foreclosure in tied product market, that is here, that 340B

               3        administrators other than Wellpartner, are shut out of the

               4        market and can't compete.

               5                   Now, the plaintiff actually agrees that it has to

               6        allege market-wide harm in the tied product market, which it

               7        says at page 7 of its opposition.        But even though they

               8        agree with the requirement, they don't meet the requirement.

               9        And the reason is this:

              10                   The plaintiff says that the tied product market is

              11        the market for what it calls, again, TPA administrative

              12        services or 340B TPA services          third-party administrative

              13        services      that are provided to covered entities.          The only

              14        allegations about harm in the tied product, in that market,

              15        are about foreclosures in a very small subset of that

              16        market, and that is the TPA services market.          Not at large,

              17        but the TPA services that are provided specifically with

              18        respect to CVS contract pharmacies.

              19                   And as we'll talk about in a second, that matters

              20        because, as it happens, very few relatively speaking, very

              21        few New York covered entities actually contract with even

              22        one CVS pharmacy.      So we're talking about a very small

              23        sliver of the market that they themselves say is the tied

              24        product market.     And that's what the law says you can't do.

              25        You can't bring a tying claim based upon harm that only


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               1        occurs in a small sliver of the tied product market.

               2                    Now, we've raised this issue in our motion.         The

               3        plaintiff didn't respond to it in their opposition.            They

               4        acknowledge the need to show market-wide harm, but at this

               5        point it wasn't responded to.        It's been more than five

               6        years since the policy that they're challenging went into

               7        effect, since CVS started integrating its administrative

               8        services with its contract pharmacy services, but there

               9        aren't any allegations in the Complaint about whether this

              10        has had an effect on that broader tied product market of

              11        340B administrative services, kind of, at large.

              12                    And there isn't even an allegation in the Complaint

              13        about whether a single covered entity has decided to move

              14        all of its 340B TPA work to Wellpartner as opposed to just

              15        the CVS related 340B TPA work.        And it's not a technicality.

              16        It matters because it means that what they'd missed is the

              17        key focus in the Donnelly Act and its purpose which is to

              18        address, again, market-wide harm.        And in a tying case, that

              19        means market-wide harm in the tied product market.

              20                    So the next point that I wanted to get to is on

              21        page 6.     And this is now the other product market that's

              22        defined, the tie-in product market, the one for contract

              23        pharmacy services.      The plaintiff says that the tie-in

              24        product market here is the market for CVS contract pharmacy

              25        services.     And the first thing, Your Honor, to note about


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               1        that is the plaintiff has really strenuously avoided the

               2        obvious market and,     frankly,   the correct market, which is

               3        contract pharmacy services generally.

               4                   Instead, what they're trying to do is they're

               5        trying to,    sort of, gerrymander a CVS specific market as

               6        though there aren't thousands of other pharmacies in New

               7        York that provide these services.

               8                   So why are they doing this?       The reason is actually

               9        pretty simple.     They don't want to acknowledge that CVS

              10        pharmacies just aren't that popular in New York.           And that's

              11        what this chart here, this pie chart is showing.           That the

              12        sliver in the upper right shows, that at the time these

              13        policies that they're challenging went into effect,

              14        14 percent of covered entities in New York contracted with

              15        even a single CVS pharmacy location.

              16                   So they have to allege for purposes of this tie-in

              17        claim, that CVS contract pharmacies are a,         sort of called,

              18        must have for covered entities of New York.          That is, that

              19        covered entities in New York don't have any choice but to

              20        contract specifically with CVS pharmacies as contract

              21        pharmacies.    And of course they can't do that because of

              22        what's in this chart.      Because, again, the reality is that

              23        very few covered entities in New York actually do contract

              24        with CVS pharmacies.      So it's pretty difficult to call CVS a

              25        so-called must-have pharmacy.


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               1                    So what the plaintiff did was they -- they found a

               2        way around the obvious and we say correct market definition,

               3        which would be the one that would include all pharmacy

               4        services -- they found a way around that by saying that

               5        every pharmacy -- every single pharmacy, doesn't matter how

               6        big or small.     The smallest independent pharmacy on the

               7        corner, the, you know -- a great big Duane Reade              all of

               8        them are monopolists; have market power in their own little

               9        market that just consists of that one pharmacy.

              10                    They spend a lot of time in their papers trying to

              11        defend a so-called one brand market or single brand market.

              12        And single brand markets are less favored in the case law.

              13        It doesn't mean they never happen, but they are disfavored.

              14        This is much more extreme than just a single brand market.

              15        This is, as we've put it, an everyone-is-a-monopolist

              16        theory.     And so on page 7 here, we describe a little bit

              17        about that.

              18                    So first point about that theory, no Court that

              19        we're aware of has ever accepted it.         No Court has ever

              20        accepted that kind of market definition where every

              21        participant is its own market, and, therefore, is a

              22        monopolist, because there's no one to compete with because

              23        the market consists just of that one store, that one

              24        pharmacy.     And there's a good reason for that and it's

              25        because it's simply not plausible.


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               1                   So what the plaintiff says to that is, well, this

               2        market is very different.       This market is different because

               3        of Federal regulations and because of the way of the

               4        regulations work, they say, you can't replace lost 340B

               5        savings if you can't contract with a CVS, with anything

               6        else, with another contract pharmacy or savings from another

               7        contract pharmacy.      And they say the reason for this is that

               8        it's not permissible for these hospitals, these covered

               9        entities, to quote, unquote,       "steer" patients to a

              10        particular pharmacy.      And there are two answers to that.

              11                   The first answer is, even if the regulations say

              12        that a covered entity cannot force a patient to go to the

              13        pharmacy of the covered entity's choice, that doesn't mean

             ·14        that they're not allowed to market to their patients.            And,

              15        in fact, we know that covered entities do exactly that.

              16        They market.     They tell patients which contract or which

              17        pharmacies are or not in network.        They even give discount

              18        cards in some instances to try to encourage patients to go

              19        to a particular pharmacy.

              20                   So the first point is just because you can't force

              21        a patient to go to a particular pharmacy, that,          in itself,

              22        does not mean that every single pharmacy is now suddenly its

              23        own market and that there's no ability for patients to know

              24        or understand what pharmacy they're going to and whether

              25        it's a contract pharmacy.


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               1                    But the second point is, it's just not true that a

               2        covered entity is unable to replace savings that it would

               3        lose if it no longer contracted with a CVS pharmacy.             A

               4        covered entity can, in fact,         replace those savings with

               5        savings from any other contract pharmacy where its patients

               6        go to fill prescription s.         And that's why it matters so

               7        much, that in New York, CVS has such a small percentage of

               8        contract pharmacy relationships because there are lots of

               9        other options for covered entities.

              10                    Now,   importantly, the plaintiff does not allege

              11        that there is any covered entity, much less all covered

              12        entities, that contract already with every single pharmacy

              13        at which their patients fill prescription s.           They can't

              14        allege that because it isn't the case.           And what that means

              15        is that as long as there are other contract pharmacies where

              16        their patients fill prescription s, if they lose savings from

              17        a CVS pharmacy, they can go to a different pharmacy and

              18        replace those savings.          A final,   just quick point about that

              19        argument.

              20                    They refer to this regulatory structure as being

              21        unique.     This is unusual.       That's why we have such an

              22        unusual every-pharma cy-is-a-mono polist type of market.             But,

              23        in fact, this kind of situation isn't really unique at all.

              24        In fact, it happens all the time in our economy.            And I

              25        think the Coke and Pepsi example that we included in our


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               1        reply brief is probably as good as any to show that.             Which

               2        is, you know, if a retailer buys Coke and is unable to buy

               3        Pepsi, but, you know, there are some of its customers who

               4        would prefer Pepsi, that retailer will lose out on those

               5        Pepsi sales.     If a customer will only drink Coke, they'll

               6        lose out.    But nobody would ever suggest that Coke and Pepsi

               7        are somehow in different markets, they're not all in the

               8        soft drink market.

               9                    Last argument, and this begins on the following

              10        page, page 8, is about the geographic market.           So two

              11        dimensions to a profit         to a market, rather, in an

              12        antitrust case.     That the relevant market consists of a

              13        product market dimension and a geographic market dimension.

              14        Product market means what, in the eyes of a customer, which

              15        products are substitutable for each other.          Geographic

              16        markets refers to what's known as the effective area of

              17        competition.     That is, where do customers go to look for the

              18        products they want to buy.

              19                    Now, the plaintiff says that the geographic market

              20        for contract pharmacy services is national, the whole

              21        country.    And they say this, they say, because CVS operates

              22        nationally; its integration was a national integration.             But

              23        that isn't how a geographic market gets defined.           A

              24        geographic market gets defined by where do customers

              25        actually make their purchases?

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               1                   So that's why we thought that, perhaps, the best

               2        way to show why their geographic market is wrong is simply

               3        to look at a map.     And, here, you know -- again, our concern

               4        about this market definition is that what it means at the

               5        end of the day is that a covered entity located in New York,

               6        say, down the street here,      is -- regards as a substitute.

               7        It could just as easily in effect contract with the Duane

               8        Reade down the street or the independent pharmacy down the

               9        street, as it could with a contract pharmacy located in

              10        Honolulu, Hawaii.     The whole country is the relevant

              11        geographic market.      That's what that means.

              12                   And our point here is that that's both implausible,

              13        and it's also inconsistent with the plaintiff's other

              14        allegations.     Because the plaintiffs allege -- and this is

              15        on page 9 here,    in paragraph 8 of their Complaint           they

              16        say that patients use the pharmacies that tend to be closest

              17        to where they live or work.       And we think that that's just

              18        plainly inconsistent with the idea that there could possibly

              19        be a national geographic market here.

              20                   So the plaintiff has two responses to this.          First,

              21        they say, well, specialty pharmacies are national, even if

              22        retail pharmacies aren't.       Specialty pharmacies are the

              23        pharmacies that prescribe much more complicated, usually

              24        more expensive drugs, oftentimes but not always, through

              25        mail order, and other items.       And they say, well, especially


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               1        pharmacies are national, they say.         There are two problems

               2        with that argument.

               3                    The first is even if you were to look at the

               4        specialty pharmacy market, if it is one, again, specialty

               5        pharmacies -- at the time of the integration here that's at

               6        issue, only 14 percent of New York covered entities were

               7        contracting with any CVS pharmacy, including specialty.

               8                    So what are their allegations about specialty

               9        pharmacy.     How can they suggest that specialty is -- could

              10        be a source of market power.        They allege that there's a

              11        27 percent market share for CVS, nationwide.           They don't

              12        allege for what we think are clear reasons.          They don't

              13        allege what that percentage looks like for New York covered

              14        entities.    And it's only been New York covered entities that

              15        the Attorney General can sue over or on behalf of.

              16                    So they don't tell us that, but they do tell us

              17        that nationwide, there's a 27 percent share.           Even

              18        20 percent or 27 percent, though, as a matter of law, is too

              19        small on its own to confer market power.          But the second

              20        point about that argument is even if specialty pharmacies

              21        were nationwide --

              22                    THE COURT:   Well, does it matter that if they have

              23        27 percent but the next biggest          next biggest share is

              24        20 percent and then everyone else -- independent pharmacies.

              25        So doesn't that matter?


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               1                   MR. PITT:    Well, it -- it could, but with those

               2        kinds of numbers, the Courts have recognized that you're not

               3        going to be able to exert market power with that small a

               4        share.    That less than 30 percent number, that's been

               5        recognized by a number of Courts, as being, sort of, the,

               6        almost the bare minimum threshold.

               7                   But actually,    I think Your Honor's question speaks

               8        a little bit to my second point about this argument, which

               9        is that, let's say that it is a nationwide -- specialty

              10        pharmacies are nationwide.       Let's say 27 percent is correct.

              11        The plaintiff doesn't define separate markets for specialty

              12        and retail.     It defines one market for all the contract

              13        pharmacies.    And specialty, they tell us in the Complaint,

              14        constitutes only 40 percent of 340B pharmacy revenues.            So

              15        again, you're talking still, about a tiny sliver of this

              16        market that they're addressing when they talk about

              17        specialty or CVS specialty.

              18                   The second thing that they tend to say or that they

              19        have said about this geographic market definition, is they

              20        say, well, it doesn't really matter anyway because they

              21        chose the -- took a conservative approach, and so it doesn't

              22        really matter whether the market is geographic or not.            We

              23        think, Your Honor, respectfully, that it does matter.

              24                   As a general matter, geographic market is important

              25        because, if you're not picking the right geographic area to


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               1        focus on, then you are not looking at the true market

               2        realities for,    in this case, the New York covered entities.

               3        And a nationwide market doesn't do that and as I've, sort

               4        of, said, that matters here for the reason that so many New

               5        York covered entities tend not to contract with CVS

               6        pharmacies.     New York is known for its lack of reliance on

               7        big pharmacy chains.

               8                    So, Your Honor, I think that sort of summarizes

               9        what our major points were.       I am very glad to respond to

              10        any questions from Your Honor, but that was pretty much what

              11        our arguments were.

              12                    Thank you.

              13                    MR. KASHA:   Good afternoon, Your Honor.

              14                    THE COURT:   Good afternoon.

              15                    MR. KASHA:   New York has properly pleaded a single

              16        brand product market in this case, in the tying market,

              17        because there is and can be no substitution, from the

              18        perspective of safety net hospitals and other covered

              19        entities.     This is not about the retail pharmacy market.

              20        The market here concerns covered entities' access to 340B

              21        benefits for which they need a 340B contract.          Only a 340B

              22        contract with CVS will give covered entities access to

              23        benefits associated with CVS customers.         There is,

             24         therefore, no substitution under the commercial realities of

             25         this market.


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               1                    The context here is important.       The 340B program is

               2        a Federal benefit specifically intended for safety net

               3        hospitals and other eligible clinics known as covered

               4        entities.     Here in New York, these clinics and covered

               5        entities and hospitals are not-for-profits.          This system

               6        exists for the broader public benefit, to improve health

               7        services particularly in under-served and rural communities.

               8                    Patients are generally unaware that when they go to

               9        pharmacies outside the hospital or clinic where they were

              10        treated, their prescriptions sometimes give rise to a 340B

              11        benefit that accrues to the hospital where it was

              12        prescribed.     But it can only be accessed if that hospital

              13        has a 340B contract with that pharmacy.

              14                    Permit me re-emphasize this.      To to access this

              15        benefit for CVS customers, the covered entity must have a

              16        340B contract with CVS.        No other pharmacy can give a

              17        covered entity access to that 340B benefit that arises from

              18        CVS' customers.     Without a 340B contract with CVS, the

              19        benefit just goes away.        No one gets it.    You,cannot get it

              20        somewhere else.

              21                    This is easily illustrated.      Imagine there's a CVS

              22        pharmacy on my left, and another brand of pharmacy on my

              23        right.   To access the 340B benefit associated with the CVS

              24        customers who go to the store on the left, the covered

              25        entity must have a contract with CVS.         Just like to access


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               1        the 340B benefit with the other pharmacy's customers on the

               2        right, the covered entity needs a 340B contract with that

               3        pharmacy.

               4                    They cannot give access to the 340B benefit that

               5        arises for each other's customers.         It's not that they don't

               6        want to, or that they choose not to,        or it's a contractual

               7        thing that they don't.         They cannot do it under the

               8        regulatory scheme.

               9                    And to be clear here, the question is not whether

              10        covered entities contract with more than one pharmacy.            They

              11        very often do.     The question is that -- the question is are

              12        they substitutes?     You can think of it like an access key.

              13        CVS has the only key to the 340B benefit associated with its

              14        customers.     There literally can be no substitute.         This, of

              15        course, gives CVS quite a lot of power.         Market power,

              16        probably monopoly power, though we don't have to prove that.

              17                    Now, CVS likes to make a big deal of the fact that

              18        other pharmacies hold their own key to access those 340B

              19        benefits.    This misses the point because it's not the

              20        holding of the key that is the wrongful conduct here.            That

              21        single brand product market that's created by the market

              22        structure is just that, a result of the market structure:

              23        The laws and regulations that govern this industry.

              24                    The problem here isn't the fact of the single brand

              25        product market.     It's that CVS and Wellpartner have misused


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               1        their market power to force a tying on the covered entities

               2        that,   in very many cases, they do not want.        That is the

               3        wrongful conduct.      Therefore,   focusing on whether or not

               4        other pharmacies also have a single brand product market is

               5        neither here nor there.        The question is the tying.

               6                   Now, there cannot really be a serious question that

               7        there is a tying.      They announced it in extremely explicit

               8        words, nakedly using the word "exclusive.''         There also can't

               9        really be a serious question about substitution.           For those

              10        CVS customers, no other pharmacy in the world could give

              11        access to that key to unlock those 340B benefits.

              12                   Now, antitrust markets are determined by reference

              13        to substitution, which is sometimes referred to as

              14        interchangeability.      Not by a standard of must-haves or

              15        something like that.      It's a question of substitution.

              16                   There's a term called cross-elasticity of demand,

              17        which is the economist's way of measuring and quantifying

              18        substitutability.      When cross-elasticity of demand is at

              19        one, then two products are entirely interchangeable and they

              20        are presumably in the same market.         When cross-elasticity is

              21        at zero, which is what we have alleged in paragraph 99 of

              22        our Complaint, then they're inherently not substitutable and

              23        they are not in the same market.         This is the test used in

              24        antitrust cases.

              25                   So the question as applied here is, which


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               1        pharmacies can be substituted for a covered entity's 340B

               2        contract with CVS?      And the answer was none.        None can.      New

               3        York alleges that under the commercial realities of this

               4        market, there, therefore, is no substitution .

               5                    And just to drive home the point,         I'm going to
                                                                          (

               6        refer to paragraphs 13, 51, 86 through 90, as well as 97

               7        through 99, of our Complaint.         And paragraph 99 is the one

               8        that specifically alleges that cross-elasti city of demand is

               9        at or near zero.

              10                    Now, of course, if they take issue with some of

              11        these facts,    they're welcome to do that.       They're entitled

              12        to their defense.     But a factual defense is not a basis to

              13        dismiss the Complaint.         We are at the motion to dismiss

              14        stage, so if they have a factual question about whether or

              15        not cross-elasti city of demand is actually zero, or whether

              16        or not another brand of pharmacy could, in fact,            somehow

              17        magically help a covered entity get access to CVS customers,

              18        which they certainly can't, but if they want to challenge

              19        that factually,    that is a basis to deny the motion, not to

              20        grant it.

              21                    Now, a word about the anti-steering rule, which

              22        comes up a lot in the papers.        Counsel didn't mention it

              23        much.   I just want to mention that the anti-steering rules

             24         are part of the market structure.

             25                     First of all, HRSA guidance is quite clear.          The


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               1        patient gets to choose where to go, and the covered entity

               2        has to inform the patient of that right.          And we think that

               3        the Court can simply take judicial notice under CPLR 4511B

               4        and that will appropriately end this part of the inquiry

               5        right here.       However, to the degree there is a question of

               6        fact about just how steerable patients are, once again, this

               7        is a question of fact and would necessitate the denial of

               8        the pending motion.

               9                   Now,    I would also like to point out that CVS'

              10        argument that small clinics and safety net hospitals can

              11        control where their customers go, as a matter of common

              12        sense, should be taken with a grain of salt, or two.

              13                   As we allege in our Complaint and mention in our

              14        brief, patients typically go where it's convenient.            We all

              15        know this.    Caregivers also have more important things to

              16        discuss with their patients, like follow-up treatment,

              17        follow-up appointments, physical therapy.          This probably is

              18        not high on the priority list.

              19                   On the contrary, who would probably have more

              20        control over its customers?       CVS.   In addition to the

              21        rewards programs that many pharmacies employ, there are

              22        allegations in our Complaint concerning CVS' relationship

              23        with its corporate affiliate, Caremark, which is a pharmacy

              24        benefit.

              25                   Now,    I don't want to get too much in the weeds, but


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               1        pharmacy benefit manager -- there's only three in the

               2        country and CVS and its corporate affiliates own one of

               3        them -- they're the ones who help insurance plans determine

               4        how much of a co-pay for this drug, as opposed to that.             Do

               5        you have to try this one before that.         But they also can do

               6        things -- and we have this allegation in our Complaint at

               7        paragraph 54 and 55 -- that, for example, CVS can tell

               8        patients on the plans for which the PBM, or CVS' affiliate,

               9        their PBM, Caremark -- tells patients if you want a 90-day

              10        supply of your prescription, you have to go to CVS.            If you

              11        go to another pharmacy, you can only get a 30-day supply.

              12        Well, that's not directly at issue in this case.           But what

              13        it does show is that if anybody has control over their

              14        customers, it's CVS, not the covered entities.

              15                   But before moving off this point, it's important to

              16        say that if CVS wants to hang their defense on how much

              17        factual flexibility there may actually be concerning the

              18        anti-steering role, good luck to them.         However, it is a

              19        factual question and definitely would require the denial of

              20        the motion to dismiss.

              21                   Now,   I'd like to turn to the authorities and,

              22        particularly, the US Airways vs. Sabre Holdings case.            This

              23        is the lead case.      It's not really new law, but it's a very

              24        good example of what the law actually is.

              25                   The Second Circuit in that case in 2019 -- it's


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                   1        relatively recent -- wrote:        "A single brand of a product or

                   2        a service may be a relevant market if no substitute exists

                   3        for that brand's product or services."         They didn't pull

                   4        this out of thin air.      They pulled this out of Supreme Court

                   5        authority.    And the Donnelly Act follows Federal law in most

                   6        respects, and there are some small areas of difference.              But

                   7        not here.     I think we are in agreement that in this respect,

                   8        Federal and New York law are the same.

                   9                    Now, in the US Airways case, the Second Circuit

                  10        cites four factors that were alleged -- or four allegations

                  11        that were alleged by US Airways which justify the single

                  12        brand product market in that case.         The first one is

                  13        actually the exact same thing we have alleged here, that

                  14        cross-elasticity of demand is at or near zero.

                  15                    The Second Circuit said that was enough to justify

                  16        the case going forward on the single brand product market,

                  17        and so it is here too.         And that could also end this portion

~                 18        of the inquiry, but we have more to say on this.

                  19                    The other three allegations that in US Airways the

                  20        Court focused on were allegations that were really questions

                  21        of degree.     It would be costly to multi-home.        It would be

                  22        hard to transition.      They might lose some benefits or

                  23        incentives if they use two different platforms.           That was

                  24        used enough to allow them to go forward.          But here, we're

                  25        not saying it's costly or expensive, although there are


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                    1        costs and expenses associated with those few hospitals who

                    2        will hire TPAs.     What we're saying here, the single brand

                    3        product market arises from what I illustrated earlier.             That

                    4        the pharmacy on the right can never give access to a covered

                    5        entity for a CVS customer, and vice versa.          That's the

                    6        market structure here.

                    7                   That's even stronger than it was in US Airways.

                    8        And that's why the appropriate, the only way to frame this

                    9        case is as a single brand product market -- or the correct

                   10        way.    And I will point out, it wasn't a discretionary call.

                   11        The Second Circuit remanded it.        The District Court would

                   12        proceed with it.      From what I can tell from following the

                   13        litigation, the plaintiff is proceeding well through summary

                   14        judgment there.

                   15                   Now, defendants brief relies heavily on the Truetox

                   16        case.    Truetox was correctly decided by Justice Borrok, but

                   17        it is not a leading case.       It's not a reported case.        It's

                   18        an example of a poorly conceived and pleaded antitrust claim
ij
                   19        that had to be thrown out.

                   20                   In that case, Truetox, which is apparently a

                   21        medical testing laboratory, was suing Healthfirst because

                   22        Healthfirst network had decided to only contract with two

                   23        other labs -- I believe it was Quest Diagnostics and

                   24        Labcorp, who are the, from what I understand, the biggest

                   25        players there -- and chose not to include Truetox.


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               1                   From that fact alone, they've conclude d that the

               2        product market only included two brands.         That doesn't fly,

               3        and that's not what we're alleging here.          This was not a

               4        situatio n of a regulato ry market structur e where,       like, as I

               5        point out, a store on the left and a store on the right

               6        access has to be gotten to indepen dently through separate

               7        contrac ts.

               8                   Indeed, when I went and looked up the Truetox

               9        Complai nt on NYSCEF,     just to show how poorly it was pleaded,

              10        and probably because the facts just weren't there, there was

              11        no mention of substitu tion.       No mention of

              12        intercha ngeabil ity.     No mention of cross-e lasticit y of

              13        demand.    So the Truetox case teaches nothing, other than

              14        that the standard is substitu tion and intercha ngeabil ity,

              15        which is easily met here.

              16                   Now,   I would like to talk about this market-w ide

              17         impact issue that counsel spent quite some time on.           You

              18         know, we have widely asserted market-w ide impact.          And I'd

              19         like to point out that there seems to be an assumpt ion in

               20        CVS' discussi on about that point.       That the market-w ide

               21        impact requires total foreclos ure,      complete exclusio n from

               22        the market, or somethin g like that.

               23                     Well, we cite here in our brief -- and it's not at

               24        all true that we didn't respond in our brief and I don't

               25        follow this up with counsel.       Here on the -- just a


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               1        moment -- page 7 of our opposition brief, we cite two

               2        authorities that point out, first of all, that for the

               3        purposes of that test, a $600,000 effect on commerce in the

               4        tied market was clearly enough; "clearly meets any test of

               5        substantiabi lity'     [sic]."    The words, "clearly meets any

               6        test of substantiali ty."        And that's the Gonzalez case, 880

               7        F.2d 1502.

               8                   Now, here, we've alleged specifically that there

               9        was market-wide impact in the tied market for TPA services.

              10        And we cite paragraphs, among others, 107 through 108.

              1·1       Covered entities switched away from Wellpartner' s

              12        competitors in the TPA services market.          That switching, as

              13        long as it meets some, you know, test of substantialit y, is

              14        the market-wide impact, the fact that they were pushed away.

              15                   In terms of the dollar amount, I cannot right now

              16        tell you what it is, but I do think it's going to be far in

              17        excess of $600,000, market-wide.          Far in excess of that.     So
              18        the idea that we haven't responded is wrong.

              19                   And I do want to emphasize that the impact in the

              20        TPA services market does not require that all competitors of

              21        Wellpartner simply cease to exist.         There is no such

              22        requirement under tying law.        This is made up, so to speak.

              23                   Now, what I want to say about the Global Insurance

              24        case that CVS likes to refer to, is that what that case

              25        actually stands for is a very different proposition, that


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                   1        the individual injury to a particular person or entity is

                   2        not market-wide impact.        So if one company says wait a

                   3        minute.    I got cut out of this deal.       I was hurt -- that's

                   4        not market-wide impact.        We're not making any such

                   5        allegations.      We are here arguing for the economy of the

                   6        State of New York, talking about all safety net hospitals

                   7        and covered entities -- whether they are CVS customers or

                   8        could be CVS customers or used to be CVS customers -- under

                   9        these contracts.

                  10                   So I should add here this 14 percent contract with

                  11        CVS, first of all, that number is not in our Complaint, so

                  12        it has no business playing any role on the motion to

                  13        dismiss.

                  14                    Second of all,     I don't know if the number is true

                  15        or not because it tells us very little.          It says nothing

                  16        about how big these covered entities are.          A small clinic

                  17        does not have any the same number of patients or dollar

j                 18        volume as Mount Sinai or NYU Langone, or any of the other

                  19         larger hospital systems.        So this 14 percent, aside from not

                  20        being in the Complaint, and aside from being a question of

                  21         fact,   tells us very little.

                   22                   But the other thing it doesn't tell us is how many

                   23        covered entities just threw up their hands and gave up and

                   24        said we're not going to do this.        We're not going to buy

                   25        into this.    In antitrust law that's classic output


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               1        restriction, and that's classic antitrust harm.

               2                   Now,    I'd like to talk about some of the other

               3        authorities and, in particular, in the context of the

               4        geographic market issue.          You know, we've heard the term

               5        "gerrymandering,'' and I know they were applying it to the

               6        product market, but it's curious, because it was CVS that

               7        was trying to gerrymander a very clear geographic market

               8        definition.       In paragraph 101, in extremely unambiguous

               9        terms, New York alleges:          "The geographic scope of a CVS

              10        contract pharmacy market is the United States."

              11                   Now, to begin, if they have a question about the

              12        scope of the geographic market and its impact on liability

              13        or remedies, those are questions of facts that can be

              14        resolved in the process of litigation.          It is not a basis to

              15        dismiss the case.

              16                   But I'd like to call to the attention, an

              17        authority --

              18                   THE COURT:     Does it matter for the Donnelly Act

              19        that, that's -- what you said?

              20                   MR. KASHA:     I'm sorry, Your Honor?

              21                   THE COURT:     Does it matter what the Donnelly Act --

              22        in terms of what your reach is, your reach of the Attorney

              23        General's Office, that you're talking about?

              24                   MR. KASHA:     Well,    I think there might be a separate

              25        question at the remedies stage, and I do hope we get there,


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               1        when we seek an injunction to enjoin this conduct and

               2        enforce -- of Wellpartner, about whether or not that order

               3        will only apply in New York or nationally.

               4                   And I think Your Honor is probably more familiar

               5        with the outer bounds of this Court's authority than we are.

               6        But I would respectfully submit that that particular issue

               7        doesn't really have a place here on the motion to dismiss.

               8                   I'd like to talk about an authority that CVS cites,

               9        and it's called Benjamin of Forest Hills Realty vs. Austin

              10        Sheppard Realty, 823 NYS2d 79.        And on page 95 it talks

              11        about what a geographic market is, and that is, quote,           "The

              12        area in which such reasonable interchangeability can occur."

              13        In other words, this -- and that's correct.          Just like in

              14        the product market, it is a question of substitution.

              15        Interchangeability .

              16                   So the question here is, in what geography would a

              17        covered entity have to look to find a substitute for a CVS,

              18        for a CVS 340B contract.       If they don't like the tying, a

              19        particular covered entity in New York doesn't like the

              20        tying, can they get around the problem by talking to a

              21        pharmacy in New Jersey, California, Pennsylvania, Hawaii?

              22        No, they can't.     There is no geography within which that

              23        substitution can happen, therefore, we pleaded a national

              24        market.

              25                   Once again,   if they have a question about this,


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                   1        they can challenge it as a question of fact at trial.            It's

                   2        not a basis to dismiss.        We have very plausibly and clearly

                   3        pled that national market.

                   4                   I'd also like to add that there are a lot of facts

                   5        that make the market very national.         First of all, contrary

                   6        to the way it's being depicted, covered entities do not

                   7        contract with individual CVS locations.          Does not happen.

                   8        They contract with CVS.        As we see it in New York, they do

                   9        it through one of their subsidiaries, CVS Albany.           And it's

                  10        a national contract which covers their national mail order

                  11        service; their at least partially national specialty

                  12        pharmacies, much of which is distributed by mail.           And then

                  13        they'll be an appendix listing which stores it applies to.

                  14                   But coming back to the which geography would be a

                  15        substitute, if they don't like that contract which includes

                  16        the tying, can they go to New Jersey and say, hey, some

                  17        pharmacy, give me a contract without the tie-in, that would

~                 18        give me access to the CVS customers' 340B benefit.            There is

                  19        no such substitution.      That is why we have pled a geographic

                  20        market nationally.

                  21                   Now,   I'd like to address some of the issues that

                  22        were raised in defendants' slides and presentation, much of

                  23        which I think covers what I've said, but I think it's worth

                  24        calling him out specifically on.

                  25                   First of all, at the beginning of the presentation,


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                   1        counsel was talking about using Wellpartn er to increase

                   2        access for covered entities.       I just want to point out that

                   3        if you look at paragraph 70 and the following of our

                   4        Complaint , you will see that, before they choose to do that,

                   5        they have already set up a system to multi-hom e, meaning,

                   6        allowing individua l pharmacy locations to serve multiple

                   7        safety net hospital, which is what they claim the benefit

                   8        was.   They've already set up a way to do that using what's

                   9        referred to as in the Complaint as the Sentry backbone.

                  10        Sentry is another one of the TPAs that competes with

                  11        Wellpartn er and they do both sides of the business.           They

                  12        have helped CVS prepare a system to do the same thing

                  13        without an anticompe titive tie.         But instead, CVS chose to

                  14        implement an anticompe titive tie.

                  15                   Now, I don't think those facts are at issue before

                  16        the Court, specifica lly on this motion to dismiss.           But

                  17        having it raised by the other side, I couldn't let that lie

~                 18        without calling out that particula r fact.

                  19                   Now,   I'd like to -- sorry.      I'm just going to skip

                  20        over the ones already covered in my presentat ion.

                  21                   I'd like to talk about counsel's use of the "small

                  22        sliver" expression .     Now, one can't just start carving out

                  23         little portions of things and say, ah-ha,        it's too small.

                  24        Or, this is a must-have .

                  25                   First of all, on the must-have issue, must-have is

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               1        not the standard for market definition in antitrust cases.

               2        It sometimes comes up to the factual issue in other kinds of

               3        markets, but that is not the standard and it is not

               4        applicable here.

               5                   Now, to pull up their 14 percent number, or any

               6        other particular number, which is not in our Complaint and,

               7        therefore, could not be the basis for a dismissal -- is to,

               8        kind of, slice-and-dic e to look for something.          They were

               9        trying to prove a point,       I guess, that the harm was small.

              10        But the harm in a TPA market is substantial if it exceeds

              11        $600,000, which it will by orders of magnitude.           And if

              12        there's a question about that, once again, that's a question

              13        of fact which would require a dismissal.

              14                   THE COURT:    Tell me again.     The 600,000 comes from

              15        where?

              16                   MR. KASHA:    There is a case which specifically says

              17            Gonzalez vs. St. Margaret's Housing Development Fund

              18        Corporation, 880 F.2d 1514 at 1518.         And the quote is:

              19        "$600,000 of commerce clearly meets any test of

              20        substantiali ty."    And that's under the substantial effects

              21        on commerce in the tied market.

              22                   Now, in this case here, although I couldn't give

              23        you an exact number, we do know that the fees paid in the

              24        TPA services market, at least -- and once again, this isn't

              25        -- well, I think we do have numbers like this in the


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               1        Complaint.     The fees are in the hundreds of thousands of

               2        dollars, monthly or quarterly.        And we're talking about, by

               3        their own admission, at least 300 covered entities in New

               4        York.

               5                    So 300, you know, per quarter, per month,        something

               6        measured in the hundreds of thousand dollars, across

               7        hundreds of entities in the state, we're clearly beyond that

               8        de minimus threshold.

               9                    Now,   if -- if they have a question about that,         if

              10        they factually want to challenge that, we're not trying to

              11        deprive C~S of the right to make factual challenges.            I

              12        don't think it's going to get them far and I'm not very

              13        worried about it.      But it is a question of fact that

              14        requires dismissal of the motion -- a denial of the motion.

              15                    Now,   I'd also like to take issue with the statement

              16        that our theory has never been accepted by any Court.               This

              17        is wrong.     The single brand product market theory has been

              18        accepted by many Courts the best example being US Airways

              19        and the cases cited therein.

              20                    Now, they're confusing the issue, because as I

              21        pointed out when we talked about the access to the keys,              the

              22        market structure does create presumably a single brand

              23        product market associated with each pharmacy.           But that's

              24        not the wrongful conduct here.         In some antitrust cases, it

              25        is.


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               1                   It was like in that US Airways case, it was a

               2        monopolization case.      So the single brand product market

               3        wasn't just the tying market; it was the wrongful market in

               4        that case because it was a Section 2 monopolization case.

               5        But this is a tying case and the wrongful conduct is the

               6        tie.

               7                   The monopoly that they have in the single brand

               8        product market that's created by the market structure is not

               9        the wrongful conduct, whether it's CVS or another pharmacy.

              10        It's the tying that's the wrongful conduct.          That's what's

              11        alleged to be wrong.      So they have market power and even

              12        monopoly power in their single brand market, not by

              13        wrongdoing; by virtue of the market structure.           However,

              14        they choose to implement a tie, to the detriment of covered

              15        entities, and that's what the wrongful conduct is.            So the

              16        "everyone-is-a-monopolist has never been accepted by a

              17        Court," this is really not right.

              18                   First of all, Courts do accept, in appropriate

              19        circumstances, single brand product markets.

              20                   Second of all, the wrongful conduct here isn't the

              21        monopolization.     We're not saying, therefore, every mom and

              22        pop pharmacy in New York is also committing the same

              23        violation here, unless they too are committing -- are

              24        implementing a similar tie.       The issue is the tie.

              25                   And with that, Your Honor,      I'll answer any


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                   1        questions you have or reserve the chance to oppose or

                   2        respond if opposing counsel has anything further to say.

                   3                   THE COURT:    Someone goes first,     someone goes

                   4        second, and then we have a reply.         That's usually how it

                   5        works.

                   6                   Go ahead.

                   7                   MR. PITT:    Thank you, Your Honor.

                   8                   Thank you, Your Honor.      I'll try to be brief.

                   9        There's just a few things that Mr. Kasha had mentioned that

                  10        I'd like to respond to.

                  11                   I'll start with the last thing he said.         The issue

                  12        is the tie.     Very clearly, under New York and Federal law, a

                  13        tie is not actionable, cannot be actionable, without market

                  14        power in the tie-in product market.         No claim without it.

                  15        And I just want to be very clear that, in addition to the

                  16        market-wide impact or market-wide harm argument that you're

                  17        making, that is what we are challenging.          That they have not

~
                  18        plausibly alleged market power.

                  19                   Mr. Kasha mentioned many times it's a fact issue

                  20        and it can't be decided on a motion to dismiss.           Market

                  21        definition is a fact issue.       The cases recognize that

                  22        although market definition is often a fact issue where the

                  23        allegations are implausible or where they're inconsistent,

                  24        then it is absolutely appropriate.        And there are many cases

                  25        that do so.    We cited a number in our papers, but there are


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                   1        many more where Courts do indeed, and should, dismiss a

                   2        case, that has not stated in a proper legal claim because

                   3        there is no plausible claim of market power.

                   4                    On the issue of substitution, so whether a covered

                   5        entity can substitute for a different contract pharmacy for

                   6        a particular customer who went to CVS is not the relevant

                   7        question.     The question is can a covered entity replace

                   8        savings that it won't get if it doesn't contract with CVS

                   9        with savings from a different contract pharmacy.           And our

                  10        answer to that is absolutely, they can, and they do.            And

                  11        the Complaint does not plausibly allege otherwise.

                  12                    All they say is, well, for that patient who would

                  13        have gone to the CVS, you can't get the savings associated

                  14        with that prescription.        But that is not the test, and that

                  15        is why we focused on this 14 percent number and let me talk

                  16        about that for a brief minute.

                  17                    For the first time now today, we hear from the

~                 18        plaintiff that the 14 percent issue was something that

                  19        cannot be considered.      A couple of things on that.        First,

                  20        we brought that up in our opening brief.          At no time in

                  21        their opposition did they suggest that it would somehow be

                  22        improper for Your Honor to consider it.

                  23                    Second, they rely on that same data in their

                  24        Complaint, which I think we point out in our reply brief.

                  25                    Third, the Court can take judicial notice of these


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                   1        government statistics, again, under a case law that we've

                   2        cited in our papers.      So we do think it's appropriate.        But

                   3        even if Your Honor didn't, it is still the case that every

                   4        pharmacy is its own monopolist, and that is what they

                   5        acknowledge in their opposition they are doing.           Because for

                   6        any given pharmacy, if you don't have a contract with that

                   7        one pharmacy, then you can't get access to the savings

                   8        unlocked, as they put it, by the key, because they don't

                   9        have the contract with it.       If a patient fulfills a

                  10        prescription at that one pharmacy, you miss out on the funds

                  11        associated with that one patient.        And I would again, raise

                  12        the Coke-Pepsi discussion that we had in our brief and that

                  13        I mentioned a moment ago, which is to say that doesn't mean

                  14        that they are each their own market.

                  15                   Next point is PBMs.      Just a minor correction.       I'm

                  16        not sure whether Mr. Kasha misspoke, but I did hear him say

                  17        that there are only three PBMs.        That's not the case.      There

~
                  18        are, I believe, somewhere in the order of 40 or more PBMs.

                  19        It is certainly the case that there are three PBMs that are

                  20        larger than the others, but it is not at all the case, and I

                  21        don't believe they allege that there are only three PBMs.

                  22                   And on that point about PBMs, if CVS' ownership of

                  23        a PBM gave it market power, which is what I believe they're

                  24        trying to suggest, then again, you would see many, many more

                  25        covered entities in New York contracted with CVS because


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                   1        they would have to.

                   2                   Let me talk briefly to this must-have issue.          It is

                   3        -- the reason I use the phrase "must-have" -- it's not my

                   4        phrase; I didn't come up with it.         It's in the case law --

                   5        is that the fundamental point about tying arrangement is it

                   6        has to be the case.      Again, most ties, not anticompetitive.

                   7        Not a problem.      Only a problem if the customer has no other

                   8        choice but to purchase the product, the tying product, from

                   9        the defendant.      That's what the standard is.

                  10                   Now, when I say "no other choice," I'm speaking a

                  11        little bit euphemistically.       They have to have market power

                  12        or dominance in that tying product market.          And that's why I

                  13        refer to it as a must-have.

                  14                   The Sabre case, very quickly.       They use it to say

                  15        that, well, a single brand market can be permissible.            I

                  16        agree.   A single       under the right circumstances, a single

                  17        brand market can be permissible.         The allegations don't

j                 18        support a single brand market here for the reasons that I

                  19        described.

                  20                   And in any event, their idea of what it means to be

                  21        a single brand market is again, that every single pharmacy

                  22        has market power because the customers that go there are

                  23        associated with savings that can only be unlocked by

                  24        contracting with that particular pharmacy.          For the reasons

                  25        I've already said, that is, again, not how the market is


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                   1        defined.

                   2                    I also heard that we were somehow suggesting that

                   3        complete, 100 percent foreclosure was a requirement in the

                   4        tied product market.      That is not our position.       It is not

                   5        what we were saying.

                   6                    The test is substantial foreclosure.        And on this

                   7        point, I really do want to be clear because I think the

                   8        quote that you just heard from,       I believe, it was the

                   9        Gonzalez case, that is actually referring to a different

                  10        prong of the test.

                  11                    There is a prong in the test that the tie has to

                  12        affect a not insubstantial amount of commerce.           Frankly,

                  13        that is a prong that is almost always met in tying cases.

                  14        It is not controversial, and it is completely distinct from

                  15        the issue of whether or not there is market-wide

                  16        anticompetitive harm, which was the issue that we were

                  17        addressing.

~                 18                    On the geographic market question, again, the

                  19        question isn't whether it is possible for someone in New

                  20        York to contract with a pharmacy in California or Kansas or

                  21        Hawaii.     It is a question of whether it is a reasonable

                  22        substitute, and on basic plausibility standards, it is not.

                  23                    And two more very quick points.       It was suggested

                  24        that covered entities have to contract with CVS, the entity

                  25        at large.     That is not the case.      I don't believe it's even


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               1        alleged in the Complaint that way nor it could it be because

               2        under the HRSA regulations, they have to have a contractual

               3        relationship with the pharmacy location; separate contracts

               4        with the pharmacy location.       So this is not the case, that

               5        contracting is a nationwide process.

               6                    Final point, again, this is on a factual issue that

               7        I think, frankly, we agree is not relevant to the three

               8        arguments that we're presenting, but they raised this issue

               9        of the backbone and I simply want Your Honor to understand.

              10                    They say we just abandoned the backbone because we

              11        wanted supposedly to dominate the different market.            In

              12        fact,   in 2017, the backbone was not a viable solution.            It's

              13        certainly true, we tried to do that as a solution, and that

              14        solution didn't work.       It was a failure in 2017, and that is

              15        the reason why CVS then looked to acquire a third-party

              16        administrato r so that it could integrate the services.

              17                    And with that, Your Honor,     I thank you again very

              18        much for the time you've given us.

              19                    THE COURT:   Okay.

              20                    MR. KASHA:   Your Honor, we believe we've responded

              21        to all of those points, so I have nothing further to add.

              22        However, if you have any questions,        I would be pleased to

              23         respond.

              24                    THE COURT:   No.

              25                    MR. KASHA:   Thank you.


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               1                   MR. PITT:    Thank you.

               2                   THE COURT:    I have a motion that's come before me

               3        which is to dismiss the Complaint.         We've heard from the

               4        parties today.     I have the benefit of their papers in

               5        support of opposition and reply.         The Court will rule.

               6                   To understand the State's antitrust claim as

               7        asserted against CVS, we must first understand the

               8        background of how the Federal 340B drug pricing program

               9        works.    Namely, the program allows eligible providers --

              10        these are hospitals and health clinics for underserved

              11        populations, such as uninsured people or Medicaid recipients

              12        -- to essentially buy prescription drugs at a discounted

              13        price.

              14                   When a 340B drug gets dispensed, the patient's

              15        insurance company pays for the drug according to its usual

              16        pricing plan, but then the covered entity receives the

              17        difference between the insurer-paid drug price and the 340B

              18        drug price, often called the "340B savings."

              19                   The drugs can be dispensed at an inhouse pharmacy

              20         associated with a covering entity, or at a regular

              21         commercial non inhouse pharmacy.        If the patient goes to a

              22         pharmacy other than a covered entity's own inhouse pharmacy,

              23         then the covered entity can collect the 340B savings only if

              24         the covered entity has a special contract with that store or

               25        brand of pharmacy.     These are known as contract pharmacies.


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               1        Plaintiff alleges that as of July 2021, there are 4,441

               2        covered entities in New York enrolled in the 340B program.

               3                    Patients are typically unaware that their

               4        prescription is classified as a 340B prescription , as

               5        patients do not personally receive the benefits of the

               6        program.    Those benefits instead flow to the covered

               7        entities.    Another feature of the program is that the

               8        covered entities are, according to plaintiff's reading of

               9        the regulations, prohibited from directing or steering

              10        patients to or away from a particular pharmacy.           The

              11        relevant language reads as follows:         Covered entities must,

              12        quote,   "inform the patient of his or her freedom to choose a

              13        pharmacy provider," unquote, and that, quote,          "if the

              14        patient does not elect to use the contracted service, the

              15        patient may obtain the drugs from the pharmacy provider of

              16        his or her choice," unquote.

              17                    Because of the complexity of the program, potential

              18         compliance issues, and occasional difficulty in

              19         administering the program, many covered entities hire 340B

              20         program administrato rs -- also called "third-party

              21         administrato rs" or shortened to "TPAs" -- to provide

               22        administratio n services,     identify 340B eligible

               23        prescription -- prescription s, and manage 340B drug

               24        inventories on behalf of the covered entity.

               25                   In November of 2017, CVS pharmacy acquired,


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               1        Wellpartner, a company that offers third-party administrator

               2        services, and announced that the company would offer a

               3        contract pharmacy and 340B administration services on an

               4        integrated or -- excuse me, announced that the companies

               5        would offer contract pharmacy and 340B administration

               6        services on an integrated basis for CVS contract pharmacy

               7        locations.     In other words, CVS began requiring covered

               8        entities to use Wellpartner if the covered entity wanted to

               9        have a 340B services contract with CVS.

              10                   According to the Complaint, many covered entities

              11        had to switch from their preferred TPA to Wellpartner.             Some

              12        of the covered entities, according to the Complaint, would

              13        rather continue working with the TPAs they already have a

              14        relationship with, both for financial and efficiency

              15        reasons.     However, CVS is not the only pharmacy operating on

              16        the integrated basis.       For example, Walgreens also uses an

              17        integrated model.      The integrated model applies only to CVS

              18        pharmacy locations.      That is, covered entities remain free

              19        to obtain contract pharmacy services from other pharmacies

              20        and to use other 340B administrators in connection with

              21        non-CVS pharmacies.

              22                   Now, in the case before us, the Attorney General

              23        for the State of New York takes issue with CVS' business

              24        model which ties contract pharmacy services and 340B

              25        administration services to one another.          The State asserts


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               1        two causes of action.      One, an allegedly anticompetit ive tie

               2        of 340B administratio n services to CVS' 340B contract

               3        pharmacy services.      And that is alleged to violate the

               4        Donnelly Act, which is at New York General Business Law

               5        Section 340.

               6                   The second cause of action is a claim based upon

               7        the same alleged conduct under the Executive Law, which is

               8        at New York Executive Law Section 63 Subsection 12.            In this

               9        motion, CVS seeks to dismiss for failure to state both

              10        causes of action.

              11                   Now, in most contexts, including the law of tie-ins

              12        -- T-I-E dash I-N-S, New York's Antitrust Law, the Donnelly

              13        Act is interpreted consistently with Federal Antitrust Law

              14        and precedent.     See Anheuser-Bus ch vs. Abrams at 71 NY2d

              15        327, at 335.     There, the Court wrote:       "The Donnelly Act

              16         should generally be construed and in light of Federal

              17        precedent and given a different interpretatio n only where

              18         State policy, differences in statutory language or the

              19         legislative history justify such a result," unquote.

              20                   Now, to allege a per se antitrust tying claim,

              21         T-Y-I-N-G, plaintiff must assert, one, Two distinct

               22        products; a tying product and a tie product; and, two,

              23         economic coercion; and, three, market power in the tying

               24        product market; four, anticompetit ive impact in the tied

               25        market -- in the tied product market; and,        five,   involvement


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                    1        of a not insubstantia l amount of commerce.         See Gonzalez vs.

                    2        St. Margaret's Housing Development Fund Incorporated --

                    3        Corporation, at 880 F.2d 1514.

                    4                   The State argues that it has satisfied all five

                    5        elements of the claims, and although this Court is satisfied

                    6        that the State has successfully alleged four out of the five

                    7        elements of the claim, this Court holds that New York has

                    8        essentially erred by playing a -- by pleading a single brand

                    9        tying market.     That is, a tying market that includes only

                   10        the CVS brand of contract pharmacies.         Accordingly, in this

                   11        Court's view, the State has not successfully alleged the

                   12        third element of the tying claim.

                   13                   "Tying" occurs when a seller conditions sales of a

                   14        product -- the tying product -- upon customers -- customers'

                   15        purchase of another separate product.         That is, the tie

                   16        product.    See Columbia Gas of New York vs. New York State

                   17        Electric and Gas Corp. at 28 NY2d 117 at 128.

ij                 18                   However, not all tying arrangements violate the

                   19        Antitrust Laws.      Instead, many tying arrangements are fully

                   20        consistent with a free, competitive market.           See Illinois

                   21        Tool Works vs. Indiana, Inc. at 547 US 28 at 45.            For

                   22         example, it is not illegal to sell cars with engines or

                   23         cameras with lenses.     Rather, tying can be unlawful where a

                   24         seller has sufficient power in the tying product market to

                   25         restrain competition in the market for the tied product.


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                    1                   The Donnelly Act requires plaintiff to properly

                    2       allege a tying product market and the possession of power

                    3       within that market.      A defendant that lacks market power in

                    4       the tying product market cannot coerce customers into

                    5       purchasing the tied product and, thus cannot harm

                    6       competition.

                    7                   Put differently, a tie cannot violate the Donnelly

                    8       Act if customers have reasonable substitutes for the alleged

                    9       tying product.     Without the leverage of a market -- of

                  10        market power, a seller's inefficient tie-in will fail

                  11        because a rational consumer will buy the tying product from

                  12        the seller's competitor.        See Kaufman vs. Time Warner at 836

                  13        F.3d 137 at 143.

                  14                    In light of these principles, the plaintiff's tying

                  15        claim is, in this Court's view, deficient.          More

                  16        specifically, this Court holds that plaintiff's claim fails

                  17        due to its failure to properly define the relevant market.

j                 18                    Plaintiff concedes that a covered entity may obtain

                  19        its 340B savings from any pharmacy willing and able to serve

                  20        as a contract pharmacy.        Yet, plaintiff rejects the most

                  21        natural product market definition.         That is, all pharmacies

                  22        capable of serving as contract pharmacies to covered

                  23        entities.    Instead, plaintiff asserts that tying product

                  24        market is the, quote, "CVS contract pharmacy market,"

                  25        unquote.


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               1                   According to the Complaint, the accuracy of this

               2        product market definition is illustrated by the example of a

               3        covered entity's patient who chooses to go to a CVS store to

               4        fulfill their prescription.        If that covered entity does not

               5        have a contract with CVS, then the covered entity cannot

               6        collect the benefit.      A covered entity cannot, for example,

               7        try to recover the benefit under a contract with Walgreens

               8        or a local pharmacy for a patient who went to CVS.

               9                   And according to the State, in light of the

              10        so-called anti-steering regulation, the covered entity

              11        cannot even ask the patient to avoid CVS.          From the

              12        perspective of the covered entity, there is, therefore, from

              13        the patient       from the plaintiff's standpoint, no

              14        substitute for CVS.      The CVS contract services market is,

              15        therefore, according to the plaintiff appropriately limited

              16        to a single brand, and CVS necessarily has market power in

              17        that market.

              18                   At the same time, plaintiff acknowledges that a

              19        Donnelly Act claim should be dismissed where the alleged

              20        product market is improperly and narrowly defined, and where

              21        the definition, quote,      "fails to take into account real

              22        world interchangeable substitute products," unquote.

              23        Moreover, plaintiff also does not dispute that single brand

              24        markets are regularly dismissed at the pleading stage, as

              25        the single brand markets theory is highly disfavored.            See,


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                   1        for example, Victoria T. Enterprises vs. Charmer Industries

                   2        at 881 NY2, 570 at 572-73.       Here, the Court noted that two

                   3        different brands of vodka were not each separate product

                   4        markets but rather part of a broader wine and liquor market.

                   5                   Courts have reasoned that, quote, "If the market

                   6        were so narrowly defined, of course the brand company would

                   7        have market power being the sole seller.          But such a narrow

                   8        definition makes no sense in terms of real world economics,

                   9        and as a matter of law, a Court cannot adopt it."            See Town

                  10        Sound & Custom Tops vs. Chrysler Motors Corp., 959 F.2d, 468

                  11        at 479-80.

                  12                   You should also see Tanaka vs. The University of

                  13        Southern California, at 252 F.3d 1059 at 1063-64.            There,

                  14        the Ninth Circuit, affirming dismissal, rejecting

                  15        plaintiff's conclusory assertion that the UCLA women's

                  16        soccer program is unique and hence not interchangeable with

                  17        any other program in Los Angeles.         You might also see Domed

                  18        Stadium Hotel, Inc. vs. Holiday Inn, at 732 F.2d 480 at 488,

                  19        where the Fifth Circuit wrote that, "Absent exceptional

                  20        market conditions, one brand in a market of competing brands

                  21        cannot constitute a relevant product market."

                  22                   In defense of it's single brand definition,
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"                 23        plaintiff states that single brand markets are, quote,

                  24         "sometimes appropriate in antitrust cases and may be

                  25        permissible if no substitute exists for that brand's


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                   1        products or services."         Plaintiff then exclusively relies on

                   2        a Second Circuit case accepting a single brand market in US

                   3        Airways vs. Sabre Holdings Court, at 938 F.3d, 43 at

                   4        page 65.    But the facts in Sabre are different from those

                   5        herein.

                   6                   In Sabre, the Court acknowledged that, quote,

                   7        "where the plaintiff alleges a proposed relevant market that

                   8        clearly does not encompass all interchangeable substitute

                   9        products, the relevant market is legally insufficient and a

                  10        motion to dismiss may be granted."         In that case, the Court

                  11        focused on actions taken by Sabre to lock customers into the

                  12        Sabre product and to impose exclusive use of its product,

                  13        making it switching to a competitor infeasible.           As a result

                  14        and the Court emphasized there, that, quote, "Travel agents

                  15        that use Sabre almost all use only Sabre services and they

                  16        rarely, if ever, switch to another provider," unquote.

                  17                   Here, by contrast, the covered entities typically

~                 18        work with multiple contract pharmacies and plaintiff's own

                  19        Complaint recognizes that reality.         See the Complaint at

                  20        paragraph 67 and 90.      And plaintiff does not allege that CVS

                  21        has done anything to prevent switching to competing

                  22        pharmacies or to make switching costly.          Plaintiff argues

                  23        that "the case for a single brand product market is even

                  24        stronger here than in Sabre because New York alleges total

                  25        exclusion of competitors from the market."          And that's from


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               1        the Complaint at paragraph 12, 82 and 84.          But the

               2        paragraphs plaintiff cites focus on CVS' exclusive use of

               3        Wellpartner in an entirely different market.           That is, the

               4        tied 340B services market.

               5                   Sabre was analyzing the costs of switching to a

               6        competitor in the relevant market being analyzed.            CVS has

               7        done nothing to exclude competitors from the tying contract

               8        pharmacy product market.

               9                   Instead, this case more resembles Truetox Labs vs.

              10        Healthfirst, at 129 NYS3d 728.        In that case, Justice Borrok

              11        of the Commercial Division in the Supreme Court here granted

              12        a motion to dismiss a Donnelly Act case for which the

              13        plaintiff attempted to distort the relevant product market

              14        for clinical laboratory services to include only those

              15        services within defendant's network.         The citation again is

              16        at 129 NYS3d 728.

              17                   Recognizing that the alleged market must be

              18        plausible, the Court noted that there was no reason why

              19        laboratory services that currently fall within the

              20        defendant's network are not interchangeable with laboratory

              21        services       with laboratories that service other healthcare

              22        insurers in the same region.        Based on the fact -- facts of

              23        the Complaint, the Court ruled that a specific market for

              24        clinical laboratory service that is constrained by the

              25        defendant's network, is simply under-inclusive and too


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               1        narrow to survive dismissal.

               2                   The same reasoning applies here.        Plaintiff alleges

               3        the market for certain healthcare services that is

               4        artificially limited to only CVS locations.          They give no

               5        truly plausible reasons why CVS contract pharmacies are

               6        somehow situated differently than the myriad of other

               7        pharmacies in the same region, that offer the same 340B

               8        contract pharmacy services to covered entities.

               9                   Plaintiff only asserts that covered entities have

              10        no substitutes for any contract pharmacies because, one, the

              11        anti-steering rule prohibits covered entities from directing

              12        a patient to particular pharmacies; and, two, the patient

              13        generally did not know that their prescriptions provide 340B

              14        benefits to covered entities.

              15                   Based on these alleged conditions, plaintiff

              16        hypothesizes that covered entities are forced or compelled

              17        to contract with any contract pharmacies at which plaintiffs

              18        fill prescriptions,     regardless of the conditions imposed.

              19        That theory contradicts what actually happens in the market

              20        and the realities of who the covered entities are choosing

              21        to contract with.

              22                   For example, the Court here will take judicial

              23        notice of the publicly available data that would show that

              24        at the time the challenged conduct went into effect,

              25        approximately 86 percent of New York covered entities that


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               1        used contract pharmacies for 340B savings, did not contract

               2        with a single CVS pharmacy location.

               3                   And 71 percent of New York covered entities did not

               4        contract with any of the major national chains:           Walgreens,

               5        Walmart, Rite Aid, Albertsons, Safeway, CVS, Ahold,

               6        A-H-O-L-D, Costco or Publix, P-U-B-L-I-X.          In other words,

               7        CVS did not have the power to coerce covered entities to use

               8        Wellpartner's administrative services as required for a

               9        tying claim, as any covered entity that wished not to use

              10        Wellpartner could join the 86 percent of New York covered

              11        entities that chose not to include CVS and their contract

              12        pharmacy network at all.       Because plaintiff fails to allege

              13        a proper tying market in which CVS has market power, the

              14        Donnelly Act claim is dismissed.

              15                   The plaintiff's assertion is about the

              16        anti-steering rule and that patient incentives also lacked

              17        merit.    First, and with regard to the anti-steering

              18        allegations, plaintiff contests CVS' argument that HRSA

              19        guidance, H-R-S-A, does not prevent covered entities from

              20        encouraging patients to use certain pharmacies through

              21        marketing and/or other efforts.        But the only guidance

              22        plaintiff points to is a statement that covered entities

              23        must inform the patient of his or her freedom to choose a

              24        pharmacy provider, and that if the patient does not elect to

              25        use the the contracted service, the patient may obtain the


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               1        drugs from the pharmacy provider of his or her choice.             That

               2        language does not appear to prevent covered entities from

               3        marketing or otherwise informing their patients about which

               4        pharmacies will provide 340B benefits.

               5                    Importantly, a manual for 340B program published

               6        with the support of HRSA explains that, quote, "It is

               7        critical to establish a plan for marketing 340B service to

               8        patients," unquote.      In this Court's view, this is plain

                9       language.     It's not a matter for discovery.        It's a matter

              10        of simply for assessing the language as it is written on the

              11        document.

              12                    Plaintiff also suggests that kickback statutes may

              13        prevent steering, but the plaintiff does not explain how

              14        these statutes could prevent marketing by covered entities

              15        or why HRSA would endure such supposedly illegal actions.

              16                    Second, as to consumer awareness, plaintiff's

              17        statement that, quote, "Patients generally do not know what

              18        the 340B program is," or that their prescriptions are

              19         somehow involved with the program, and that patients lack

              20        personal incentives to use contract pharmacies is based on

              21        plaintiff's presumption that marketing is not permitted.

              22        Through marketing, covered entities can make their patients

              23        aware of how filling a prescription at certain pharmacies

              24        benefits the covered entity that the patients use.            Because

              25        plaintiff's impermissibly narrow market definition cannot be

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               1        reconciled with the commercial realities on the ground, the

               2        State's Donnelly Act claim is dismissed.

               3                   With respect to the plaintiff's second cause of

               4        action, the plaintiff acknowledges that its Executive Law

               5        claim rises or falls with the Donnelly Act claim.           That's

               6        because the Donnelly Act claim is dismissed, so too is the

               7        Executive Law claim.

               8                   Accordingly, the defendant's motion to dismiss is

               9        granted in its entirety, and both causes of action are

              10        dismissed.

              11                   I'm directing counsel for the moving party order a

              12        copy of the transcript of today's proceedings and present it

              13        to Mr. O'Connor, the clerk of Part 43.         Mr. O'Connor will

              14        present it to the Court, and after review in chambers, the

              15        transcript will be so-ordered and then uploaded with a gray

              16        sheet order together,     reflecting the Court's decision and

              17        order of this date.

              18                   MR. LUPKIN:    Your Honor, would it be possible,

              19        after the so-order of the transcript, that you put on the

              20        record now that the clerk is directed to enter judgment in

              21        accordance with the decision, so that we have one piece of

              22        paper that is appealable and not two?

              23                   THE COURT:    That's fine.

              24                   MR. LUPKIN:    Thank you very much.      So the order

              25        will reflect that the clerk will enter judgment accordingly.


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                    1                   THE COURT:    Yes.

                    2                   MR. LUPKIN:    Thank you very much, Your Honor.

                    3                   MR. KASHA:    Your Honor, if I may,        just to preserve

                    4        the State's rights,      I'm not so familia      with the procedure

                    5        he referred to about so-ordering and sending up the judgment

                    6        at the same time.       I just want to make sure that that

                    7        wouldn't eliminate our chances to seek leave to replead or

                    8        to file an amended Complaint should we choose to do that.

                    9        We're obviously going to be thinking about whether we do

                   10        that or take it upstairs

                   11                   THE COURT:     I didn't say it was with prejudice.

                   12                   MR. KASHA:     Okay.       Thank you very much, Your Honor.

                   13                                  *       *      *


                   15                   The foregoing is hereby certified to be a true and

                   16        accurate transcript of the proceedings as transcribed from

                   17        the stenographic notes.

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                                                 ANNE BROWN, RPR
                   20                            SENIOR COURT REPORTER

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